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 1   DENNIS HALSEY, ESQ. SBN. 66091
     Law Office of Dennis Halsey
 2   9 Highland Circle
     Chico, CA 95926
 3   (530) 345-1976
     Fax (530) 894-7783
 4
   Attorney for defendants
 5 City of Gridley, Gridley
   Police Department
 6 and Brandon Wilson
 7
 8
 9                                      UNITED STATES DISTRICT COURT
                                       EASTERN DISTRICT OF CALIFORNIA
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12
   ROY ROSS BLAND AND FRANK                                  NO. 07:01786 LEW-CMK
13 JAMES WIGIERT
14                                       Plaintiffs,
                                                             STIPULATION FOR ORDER, AND
15                                                           ORDER, GRANTING LEAVE TO FILE
                                                             AMENDMENT TO ANSWER IN ORDER
16                                                           TO ALLEGE ADDITIONAL
                                                             AFFIRMATIVE DEFENSE
17
     vs.
18
     CITY OF GRIDLEY., ET AL,
19                         Defendants.
20                                                /
21           It is stipulated by all parties, by and through their respective attorneys, that defendants the
22 City of Gridley, the Gridley Police Department, and Brandon Wilson may file an Amendment to
23 their Answer to the Complaint as follows: “For an additional affirmative defense to the Complaint
24 and to each claim in it, Defendants allege that the filing and the prosecution of criminal charges
25 against Plaintiffs was done by a Deputy District Attorney from the Butte County District
26 Attorney’s Office who exercised independent prosecutorial judgment, and that
27
     Stip for Order for Amend Answer
28                                                     -1-
             Case 2:07-cv-01786-JAM-CMK Document 15 Filed 12/17/07 Page 2 of 3


 1 his exercise of his independent prosecutorial judgment was an independent, superceding cause of
 2 the criminal prosecution and of all injury and damages resulting from that prosecution”
 3
 4
     Date: December 14, 2007                                            /s/ Dennis Halsey
 5                                                                   Dennis Halsey, Esq.
                                                                     Attorney for defendants
 6
 7
     Date: December 14, 2007                                            /s/ Michael Trezza
 8                                                                   Michael Trezza, Esq.
                                                                     Attorney for plaintiffs
 9
10
     Date: December 14, 2007                                           /s/ Roberto Marquez
11                                                                  Roberto Marquez, Esq.
                                                                    Attorney for plaintiffs
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17                ORDER GRANTING LEAVE TO FILE AMENDMENT TO ANSWER
18           The parties have stipulated that Defendants the City of Gridley, the Gridley Police
19 Department, and Brandon Wilson may file an Amendment to Answer to Complaint alleging the
20 following affirmative defense: “For an additional affirmative defense to the Complaint and to
21 each claim in it, Defendants allege that the filing of and the prosecution of criminal charges
22 against Plaintiffss was done by a Deputy District Attorney from the Butte County District
23 Attorney’s Office who exercised independent prosecutorial judgment, and that his exercise of his
24 independent prosecutorial judgment was an independent, superceding cause of the criminal
25 prosecution and of all injury and damages resulting from that prosecution”
26           Based on the Stipulation of the Parties, set out above, it is hereby Ordered that Defendants
27
     Stip for Order for Amend Answer
28                                                   -2-
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 1 may file an Amendment to Answer to Complaint alleging the Affirmative Defense set out on lines
 2 seventeen to twenty-two, above.
 3
 4 Dated:       12/14/2007                                 /s/ Ronald S. W. Lew
 5                                                           Ronald S. W. Lew
                                                             United States District Court Judge,
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     Stip for Order for Amend Answer
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